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IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
O_RLANDO DIVISION

CAROL PINKNEY,
Plaintiff,

v' CASE NO. 6:17-cv-77-Orl-22KRS

SANTANDER CONSUMER USA, INC.;
and DOES 1-10, inclusive,

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Defendants.

ORDER GRANTING VOLUNTARY DISMISSAL OF COMPLAINT
WITHOUT PREJUDICE

THIS CAUSE came before the Court on the parties’ Joint Stipulation to Arbitrate
and for Order Granting Voluntary Dismissal Without Prejudice. The Court has reviewed
the Joint Stipu|ation and case file and is otherwise fully advised in the premises, and
hereby ORDERS and ADJUDGES:

l. The Court GRANTS the Voluntary dismissal of this case Without prejudice,

with each party to bear its own fees and costs.

DONE AND ORDERED in Orlando, Florida on )7{(7¢4@'///\/ &7 , 201?.

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Hon Anne Conway
' ed Statcs District Judge

Copies to:

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